                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                       CRIMINAL DOCKET NO.: 3:04CR255-V

UNITED STATES OF AMERICA              )
                                      )
                vs.                   )                  SEQUESTRATION
                                      )                      ORDER
ALBERTO SANMIGUEL, JR. (1)            )
(a/k/a “Big Albert”),                 )
ALBERTO SANMIGUEL, III (2)            )
(a/k/a “Little Albert”), and          )
FLORENCIO SANMIGUEL (6),              )                      Rule 615
                Defendants.           )              Federal Rules of Evidence
_____________________________________ )

       IT IS, HEREBY, ORDERED that any person who will be or may become a witness

in this case (except those excluded by Rule 615) is prohibited from being in the courtroom

or within hearing of it during the trial of this matter except at the time of his or her own

testimony. All witnesses in this case are ordered also not to talk about prior testimony with

any witness or other person who has been in the courtroom during testimony. All

witnesses are further ordered not to talk with anyone who will be or may become a witness

about any subject related to this trial. The attorneys in this case are ordered to relay the

contents of this order to their own witnesses and are further ordered to scan the courtroom

periodically to facilitate removal of such witnesses if any of them have inadvertently come

into the courtroom. The lawyers are ordered not to divulge the content of testimony

already given in this case to any prospective witness.

                                             Signed: May 15, 2006




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